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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )
    In re                                                    )         Chapter 11
                                                             )
    CLOUD PEAK ENERGY INC., et al.,                          )         Case No. 19 – 11047 (KG)
                                                             )
                   Debtors.1                                 )         (Jointly Administered)
                                                             )
                                                             )         Re: Docket No. 152

                                    ORDER
                        AUTHORIZING THE RETENTION AND
                     EMPLOYMENT OF VINSON & ELKINS L.L.P.
                 AS ATTORNEYS FOR THE DEBTORS AND DEBTORS IN
            POSSESSION EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

            Upon the application (the “Application”)2 filed by the above-referenced debtors and

debtors in possession (collectively, the “Debtors”) for entry of an order (the “Order”)

authorizing the Debtors to retain and employ Vinson & Elkins L.L.P. (“V&E”) as attorneys for

the Debtors, effective nunc pro tunc to May 10, 2019 (the “Petition Date”), pursuant to sections

327(a), and, 330 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016, and Local Rules

2014-1 and 2016-1; and the Court having reviewed the Application, the First Day Declaration,

the Meyer Declaration, and the Retention Declaration; and the Court having found that it has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and the Court having found that the


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      The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification
      numbers are: Antelope Coal LLC (8952); Arrowhead I LLC (3024); Arrowhead II LLC (2098); Arrowhead III
      LLC (9696); Big Metal Coal Co. LLC (0200); Caballo Rojo LLC (9409); Caballo Rojo Holdings LLC (4824);
      Cloud Peak Energy Finance Corp. (4674); Cloud Peak Energy Inc. (8162); Cloud Peak Energy Logistics LLC
      (7973); Cloud Peak Energy Logistics I LLC (3370); Cloud Peak Energy Resources LLC (3917); Cloud Peak
      Energy Services Company (9797); Cordero Mining LLC (6991); Cordero Mining Holdings LLC (4837);
      Cordero Oil and Gas LLC (5726); Kennecott Coal Sales LLC (0466); NERCO LLC (3907); NERCO Coal LLC
      (7859); NERCO Coal Sales LLC (7134); Prospect Land and Development LLC (6404); Resource Development
      LLC (7027); Sequatchie Valley Coal Corporation (9113); Spring Creek Coal LLC (8948); Western Minerals
      LLC (3201); Youngs Creek Holdings I LLC (3481); Youngs Creek Holdings II LLC (9722); Youngs Creek
      Mining Company, LLC (5734). The location of the Debtors’ service address is: 385 Interlocken Crescent,
      Suite 400, Broomfield, Colorado 80021.
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      Capitalized terms used but not otherwise defined herein shall have the meaning set forth in the Application.



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Application is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

that venue of this proceeding and the Application in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and the Court having found based on the representations made in this

Application and the Meyer Declaration that V&E’s employment is in the best interests of the

Debtors’ estates and that V&E (a) does not represent, and does not hold, any interest adverse to

the Debtors’ estates and (b) is a “disinterested person” within the meaning of section 101(14) of

the Bankruptcy Code and has no connection to the Debtors, their creditors, or other parties in

interest; and the Court having found that the Debtors provided adequate and appropriate notice of

the Application under the circumstances and that no other or further notice is required; and the

Court having reviewed the Application and having heard statements in support of the

Application at a hearing held before the Court (the “Hearing”); and the Court having determined

that the legal and factual bases set forth in the Application and at the Hearing establish just cause

for the relief granted herein; and any objections to the relief requested herein having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The Application is GRANTED as set forth herein.

        2.      The Debtors are authorized to retain and employ V&E as their counsel nunc pro

tunc to the Petition Date in accordance with (a) the terms and conditions set forth in the

Engagement Letter attached to the Application as Schedule 1 to Exhibit B-1 and (b) this Order.

        3.      V&E shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with these chapter 11 cases in compliance

with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Bankruptcy

Rules, Local Rules, and any other applicable procedures and orders of the Court. V&E shall also




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make a reasonable effort to comply with the U.S. Trustee’s requests for information and

additional disclosures as set forth in the Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases in connection with interim and final fee applications to be filed by V&E in these chapter

11 cases.

        4.      V&E shall apply half of the advance payment retainer currently held by V&E to

its first monthly fee application approved by the Court. At the conclusion of V&E’s engagement

by the Debtors, if the amount of any advance payment retainer held by V&E is in excess of the

amount of V&E’s outstanding and estimated fees, expenses, and costs, V&E will pay to the

Debtors the amount by which any advance payment retainer exceed such fees, expenses, and

costs, in each case in accordance with the Engagement Letter

        5.      Notwithstanding anything to the contrary in the Application, the Engagement

Letter, or the declarations attached to the Application, the reimbursement provisions allowing the

reimbursement of fees and expenses incurred in connection with participating in, preparing for,

or responding to any action, claim, suit or proceeding brought by or against any party that relates

to the legal services provided under the Engagement Letter and fees for defending any objection

to V&E’s fee applications under the Bankruptcy Code are not approved, pending further order of

the Court.

        6.      V&E shall provide ten business days’ notice to the Debtors, the U.S. Trustee, and

any official committee before any increases in the rates set forth in the Application or the

Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

retains all rights to object to any rate increase on all grounds, including the reasonableness




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standard set forth in section 330 of the Bankruptcy Code, and the Court retains the right to

review any rate increase pursuant to section 330 of the Bankruptcy Code.

         7.     The Debtors and V&E are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

         8.     The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when

presented for payment, and all such banks and financial institutions are authorized to rely on the

Debtors’ designation of any particular check or electronic payment request as approved by this

Order.

         9.     Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Rules are satisfied by the contents

of the Application.

         10.    The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.




        Dated: June 11th, 2019                  KEVIN GROSS
        Wilmington, Delaware                    UNITED STATES BANKRUPTCY JUDGE
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